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                                         Samantha Jones
                                 Samantha Jones
                                 Email: samjones@raslg.com
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